Case 2:09-md-02047-EEF-MBN Document 428-7 Filed 11/10/09 Page 1 of 24

Bonded Builders Warranty Group

provided on your homo.

BUILDERS WARRANTY
AND
BUILDING STANDARDS
FOR YOUR NEW HOME

YOUR BUILDER CARED ENOUGH TO PROVIDE LIMITED WARRANTY COVERAGE THROUGH

BONDED BUILDERS WARRANTY GROUP

Do cure to read thene documents to understand tho benofits and Omitations ef Your warranties.
You may rotum the warranty for cancallaticn within 30 cays of Your rocolpt of It. tf canesited
BSWG will refund the full Warrenty Snro‘lment Foe peid to the Bullder. Cancolistion of this
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Bonded Buliders Warranty Group
4600 Kings Highway, Port Charlotte, Florida 33060
Prone: 600-769-0384 * Pax: 041-743-0534
worebondadbuitiert.com

BONDED SULDERS WARAANTY GROUP (500-749-0351) AND BONSED BULEERS INSURANCE SERVICES (677-218-0810)
ARE PROUD MEMBERS OF THE BONDED CULDERS FAMILY OF COMPANIES

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BONDED BURDERS WARRANTY GROUP (-BEWG")
1800 Mange Highway. Port Chartstia, Ptorida S3850 Prons: 500-748-0888 * Pac 641-743-0534

GENERAL WARRANTY PROVIGIONS

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Case 2:09-md-02047-EEF-MBN Document 428-7 Filed 11/10/09 Page 18 of 24

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Case 2:09-md-02047-EEF-MBN Document 428-7 Filed 11/10/09 Page 20 of 24

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Case 2:09-md-02047-EEF-MBN Document 428-7 Filed 11/10/09 Page 21 of 24

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